           Case: 3:16-cv-00225-bbc Document #: 6 Filed: 05/03/16 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

TIA PARADIS,                                        Case No. 16-cv-225

                  Plaintiff,
v.

DOUGLAS COUNTY, et al.,

                  Defendants.


               DEFENDANTS DAN NICHOLS, RICH DAVIDSON AND
            DOUGLAS COUNTY’S ANSWER AND AFFIRMATIVE DEFENSES


        Defendants Dan Nichols, Rich Davidson, and Douglas County, by their attorneys,

Crivello Carlson, S.C., hereby submit the following Answer and Affirmative Defenses to

Plaintiff’s Complaint:

                                NATURE OF PROCEEDINGS

     1. Answering ¶ 1, deny any wrongdoing by these answering defendants as alleged or

otherwise, deny that the Plaintiff’s rights were violated or infringed upon by these answering

defendants, and affirmatively assert that the Defendants’ actions were lawful under the

circumstances. As further answer, these answering defendants lack information sufficient to

form a belief as to the truth of each and every remaining allegation and therefore deny the same

and put Plaintiff to her burden of proof thereon.

                                            PARTIES

     2. Answering ¶ 2, lack information sufficient to form a belief as to the truth of the

allegations contained therein and therefore deny the same and put Plaintiff to her burden of proof

thereon.
           Case: 3:16-cv-00225-bbc Document #: 6 Filed: 05/03/16 Page 2 of 6




   3. Answering ¶ 3, admit that Dan Nichols was employed by Douglas County and was acting

in the course and scope of his employment at all times material; as further answer, these

answering defendants lack information sufficient to form a belief as to the truth of each and

every remaining allegation and therefore deny the same and put Plaintiff to her burden of proof

thereon.

   4. Answering ¶ 4, admit that Rich Davidson was employed by Douglas County and was

acting in the course and scope of his employment at all times material; as further answer, these

answering defendants lack information sufficient to form a belief as to the truth of each and

every remaining allegation and therefore deny the same and put Plaintiff to her burden of proof

thereon.

   5. Answering ¶ 5, admit.

                                 JURISDICTION AND VENUE

   6. Answering ¶ 6, admit.

   7. Answering ¶ 7, admit.

                                  FACTUAL ALLEGATIONS

   8. Answering ¶ 8, admit that Douglas County through its Sheriff’s Office operates the

Douglas County Jail; as further answer, deny that Plaintiff’s allegations are accurate and/or

complete and, therefore, deny the same and put Plaintiff to her burden of proof thereon.

   9. Answering ¶ 9, deny that Plaintiff’s allegations are accurate and/or complete and,

therefore, deny the same and put Plaintiff to her burden of proof thereon.

   10. Answering ¶ 10, admit that the Plaintiff was arrested; as further answer, deny that

Plaintiff’s remaining allegations are accurate and/or complete and, therefore, deny the same and

put Plaintiff to her burden of proof thereon.



                                                2
           Case: 3:16-cv-00225-bbc Document #: 6 Filed: 05/03/16 Page 3 of 6




   11. Answering ¶ 11, lack information sufficient to form a belief as to the truth of each and

every remaining allegation and therefore deny the same and put Plaintiff to her burden of proof

thereon.

   12. Answering ¶ 12, admit that a property inventory was completed; as further answer, deny

that Plaintiff’s remaining allegations are accurate and/or complete and, therefore, deny the same

and put Plaintiff to her burden of proof thereon.

   13. Answering ¶ 13, admit that a medical intake screening form was completed; as further

answer, deny that Plaintiff’s remaining allegations are accurate and/or complete and, therefore,

deny the same and put Plaintiff to her burden of proof thereon.

   14. Answering ¶ 14, lack information sufficient to form a belief as to the truth of each and

every remaining allegation and therefore deny the same and put Plaintiff to her burden of proof

thereon.

   15. Answering ¶ 15, lack information sufficient to form a belief as to the truth of each and

every remaining allegation and therefore deny the same and put Plaintiff to her burden of proof

thereon.

   16. Answering ¶ 16, deny that Plaintiff’s allegations are accurate and/or complete and,

therefore, deny the same and put Plaintiff to her burden of proof thereon.

   17. Answering ¶ 17, deny.

   18. Answering ¶ 18, deny that Plaintiff’s allegations are accurate and/or complete and,

therefore, deny the same and put Plaintiff to her burden of proof thereon.

   19. Answering ¶ 19, lack information sufficient to form a belief as to the truth of each and

every remaining allegation and therefore deny the same and put Plaintiff to her burden of proof

thereon.



                                                    3
           Case: 3:16-cv-00225-bbc Document #: 6 Filed: 05/03/16 Page 4 of 6




   20. Answering ¶ 20, deny.

   21. Answering ¶ 21, lack information sufficient to form a belief as to the truth of each and

every remaining allegation and therefore deny the same and put Plaintiff to her burden of proof

thereon.

   22. Answering ¶ 22, deny that Plaintiff’s allegations are accurate and/or complete and,

therefore, deny the same and put Plaintiff to her burden of proof thereon.

   23. Answering ¶ 23, deny that Plaintiff’s allegations are accurate and/or complete and,

therefore, deny the same and put Plaintiff to her burden of proof thereon.

FIRST CAUSE OF ACTION AGAINST NICHOLS AND DAVIDSON – VIOLATION OF
   PARADIS’ SUBSTANTIVE DUE PROCESS RIGHTS THROUGH DELIBERATE
   INDIFFERENCE TO A SERIOUS MEDICAL NEED – INDIVIDUAL CAPACITY
                              CLAIMS

   24. Answering ¶ 24, these answering Defendants restate and reallege all answers, denials,

and affirmative defenses contained in their Answer.

   25. Answering ¶ 25, deny.

   26. Answering ¶ 26, deny.

   27. Answering ¶ 27, deny.

   FIRST CAUSE OF ACTION AGAINST DOUGLAS COUNTY – VIOLATION OF
   PARADIS’ SUBSTANTIVE DUE PROCESS RIGHTS THROUGH DELIBERATE
 INDIFFERENCE TO A SERIOUS MEDICAL NEED – OFFICIAL CAPACITY CLAIM

   28. Answering ¶ 28, these answering Defendants restate and reallege all answers, denials,

and affirmative defenses contained in their Answer.

   29. Answering ¶ 29, deny.

   30. Answering ¶ 30, deny.




                                                4
        Case: 3:16-cv-00225-bbc Document #: 6 Filed: 05/03/16 Page 5 of 6




        SECOND CAUSE OF ACTION AGAINST DOUGLAS COUNTY, IN THE
                      ALTERNATIVE – NEGLIGENCE

   31. Answering ¶ 31, these answering Defendants restate and reallege all answers, denials,

and affirmative defenses contained in their Answer.

   32. Answering ¶ 32, deny.

   33. Answering ¶ 33, deny.

                                   PUNITIVE DAMAGES

   34. Answering ¶ 34, these answering Defendants restate and reallege all answers, denials,

and affirmative defenses contained in their Answer.

   35. Answering ¶ 35, deny.

                                AFFIRMATIVE DEFENSES

       These answering Defendants, by their attorneys, Crivello Carlson, S.C., submit the

following Affirmative Defenses to Plaintiff’s Complaint:

       a.     the Court may lack jurisdiction over these answering defendants because the
              Plaintiff failed to properly serve these answering defendants with a summons and
              complaint;

       b.     the injuries and damages sustained by Plaintiff, if any, were caused in whole or in
              part by the acts or omissions of Plaintiff and the failure to mitigate;

       c.     the injuries and damages sustained by Plaintiff, if any, were caused in whole or in
              part by the acts or omissions of persons other than these answering Defendants;

       d.     these answering Defendants are immune from suit under common law and
              statutory immunities and privileges, including qualified immunity and
              discretionary immunity;

       e.     to the extent that Plaintiff seeks to pursue claims under Wisconsin substantive
              law, plaintiff’s claims are subject to the prerequisites, limitations and immunities
              contained in Wis. Stat. § 893.80;

       f.     any and all injuries or damages sustained by Plaintiff are the result of an
              intervening and/or superseding cause preventing Plaintiff a right of recovery
              against these answering Defendants;

                                               5
            Case: 3:16-cv-00225-bbc Document #: 6 Filed: 05/03/16 Page 6 of 6




       g.        the acts of these answering Defendants were in good faith and not motivated by
                 malice or intent to harm;

       h.        Plaintiff’s Complaint fails to state claims upon which relief may be granted;

       i.        Plaintiff may have failed to join all necessary parties;

       j.        Plaintiff’s claim for punitive damages is contrary to Wisconsin law, the
                 Wisconsin Constitution, and the United States Constitution; and

       k.        these answering Defendants reserve the right to amend this Answer to assert
                 additional defenses as discovery proceeds.



       WHEREFORE, Defendants Dan Nichols, Rich Davidson, and Douglas County

respectfully demand judgment as follows:

       A.        For dismissal of Plaintiff’s Complaint, on the merits and with prejudice;

       B.        For costs and disbursements of this action;

       C.        For reasonable actual attorney fees per 42 U.S.C. § 1988; and

       D.        For such other and further relief as this court may deem just and equitable.

                  A DEMAND IS HEREBY MADE FOR A TRIAL BY JURY

       Dated this 3rd day of May, 2016.

                                                        BY: s/Timothy M. Johnson
                                                        SAMUEL C. HALL, JR.
                                                        State Bar No.: 1045476
                                                        TIMOTHY M. JOHNSON
                                                        State Bar No.: 1052888
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                                                        and Douglas County
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